







NUMBER 13-00-512-CR 



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI


____________________________________________________________________


THE STATE OF TEXAS,		Appellant,


v.



ROSEMARY VELIZ GARCIA,	Appellee.

____________________________________________________________________


On appeal from the 139th  District Court


of Hidalgo County, Texas.


____________________________________________________________________


O P I N I O N


	

Before Justices Dorsey, Rodriguez, and Kennedy(1)


Opinion Per Curiam


	Appellant, THE STATE OF TEXAS, perfected an appeal from an
order entered by the 139th  District Court of Hidalgo County, Texas, in
cause number CR-1739-99-C.  After the record was filed, appellant filed
a motion to dismiss the appeal.  In the motion, appellant states it no
longer wishes to prosecute this appeal.  Appellant requests that this
Court dismiss the appeal.

	The Court, having considered the documents on file and
appellant's motion to dismiss the appeal, is of the opinion that the
motion should be granted.  Appellant's motion to dismiss is granted,
and the appeal is hereby DISMISSED.

							PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 31st day of August, 2000.


1. Retired Justice Noah Kennedy assigned to this Court by the Chief Justice of the Supreme
Court of Texas pursuant to Tex. Gov't Code Ann. § 74.003 (Vernon 1988).

